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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


In re June, 2006 Settlement Week (June 12-16, 2006)

2:03-cv-0264      2:04-cv-1051      2:05-cv-0552       2:05-cv-1026
2:03-cv-0422      2:04-cv-1085      2:05-cv-0608       2:05-cv-1029
2:03-cv-0945      2:04-cv-1113      2:05-cv-0695       2:05-cv-1077
2:03-cv-1160      2:05-cv-0520      2:05-cv-0739       2:05-cv-1102
2:04-cv-0092      2:05-cv-0143      2:05-cv-0746       2:05-cv-1143
2:04-cv-0183      2:05-cv-0216      2:05-cv-0758       2:05-cv-1153
2:04-cv-0339      2:05-cv-0246      2:05-cv-0768
2:04-cv-0403      2:05-cv-0293      2:05-cv–0835
2:04-cv–0552      2:05-cv-0374      2:05-cv-0886
2:04-cv-0621      2:05-cv-0442      2:05-cv-0976
2:04-cv–0651      2:05-cv-0477      2:05-cv-0987
2:04-cv-0738      2:05-cv-0529      2:05-cv-1006


                                    ORDER

     Each of the above cases has been selected for reference to a
highly qualified mediator as part of this Court’s settlement week
procedure.    Counsel for the parties will receive a notice from
the undersigned’s courtroom deputy setting forth the procedures
to be followed in preparing the case for mediation.              Each
requirement of that notice is incorporated herein by reference,
and the parties are notified that any failure to comply with
those requirements which results in the needless expenditure of
the resources of the opposing party, the mediator, or the Court
may cause the Court to impose sanctions.



                                    /s/ Terence P. Kemp
                                    United States Magistrate Judge
